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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:08CR321

        vs.
                                                                ORDER
BRYAN MCCROY,

                    Defendant.


        This matter is before the Court on the Defendant’s notice of appeal (Filing No.

124), the Clerk’s memoranda regarding the untimeliness of the notice (Filing No. 125)

and in forma pauperis status (Filing No. 126).

        On September 14, 2012, the Court entered a memorandum and order denying

the Defendant’s motion for a reduced sentence under the Fair Sentencing Act (Filing

No. 122). On October 12, 2012, the Defendant filed his notice of appeal (Filing No.

124).

        Federal Appellate Rule of Procedure 4(b)(1)(A)(i) provides that, under the

circumstances presented in this case, a criminal defendant’s notice of appeal must be

filed within 14 days of the entry of the judgment or order being appealed. Federal

Appellate Rule of Procedure 4(b)(4) provides that the 14-day period may be extended

by 30 days upon a finding of excusable neglect or good cause.

        In this case, the notice of appeal is untimely. The Defendant has not shown

excusable neglect or good cause. Accordingly, the Defendant will not be permitted to

proceed in forma pauperis on appeal.
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      IT IS ORDERED:

      1.    The Defendant’s notice of appeal (Filing No. 124) is untimely;

      2.    The Defendant may not proceed in forma pauperis on appeal; and

      3.    The Clerk is directed to mail a copy of this order to the Defendant at his

last known address.

      Dated this 18th day of October, 2012.

                                              BY THE COURT:

                                              s/Laurie Smith Camp
                                              Chief United States District Judge




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